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     Case 3:20-mj-04452-LL Document 18 Filed 10/27/20 PageID.55 Page 1 of 2                        FltE,D
                                                                                                    OCT 37 2020
Waiver ofRule5(c) and 5.l(a) Hearings

                               UNITED STATES DISTRICT COURT                             ~~u.f'r~~6~1g~ 2~~\fi:u~~~
                             SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                                         Magistrate Case No. 20MJ445l

        v.
                                                                 WAIVER OF RULE S(c) and S.J(a) HEARINGS
BRIAN JEFFREY RAYMOND                                            (Excluding Probation/Supervised Release Violation)


        I, BRIAN JEFFREY RAYMOND, understand that in the District of C.Olumbia, charges are pending alleging

violation of Title 18, United States Code, Section 2422(a), and that l have been arrested in the Southern District of

California and taken before a United States Magistrate Judge, who infonned me of the charge and of my right to:

         1.       Retain counsel or request the appointment of counsel if I am unable to retain counsel;

        2.        Request transfer of the proceedings to this district pursuant to Rule 20, Fed.R.Crim.P., in order to

                  plead guilty .if the United States Attorneys in both districts approve the transfer in writing;

         3.       A preliminary hearing if required by Federal Rules of Criminal Procedure 5.1 or 58(b)(2)(G) (unless

                  an indictment has been returned or an information filed) to determine whether there is probable cause

                  to believe an offense has been committed by me, the hearing to be held either in this district or the

                  district of prosecution; and

         4.       An identity hearing to detennine if I am the same person named in the charging document

         I HEREBY WAIVE (GIVE UP) MY RIGHT TO A(N):

         ~ identity hearing.

         '9-. preliminary hearing
         •    identity hearing and have been informed I have no right to a preliminary hearing

         •    identity hearing but request a preliminary hearing be held in the prosecuting district and, therefore, consent

          to the issuance of an order requiring my appearance in the prosecuting district where the charge is pending

          against me.



                                                                                                                    Defendant




                                                                                              October 27, 2020
                                                                                                                         Date
    Case 3:20-mj-04452-LL Document 18 Filed 10/27/20 PageID.56 Page 2 of 2


I John D. Kirbv. attest I have discussed with Mr. Raymond his rights to a removal
hearing and lpentificatiQn hearing and also his riglit to a Preliminary Hearing he has
agreecrto waive those rights.




                                             Attorn
